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                            IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF DELAWARE

 ARBUTUS BIOPHARMA CORPORATION                )
 and GENEVANT SCIENCES GmbH,                  )
                                              )
                 Plaintiffs,                  )
                                              )
    v.                                        ) C.A. No. 22-252-MSG
                                              )
 MODERNA, INC. and MODERNATX, INC.,           ) REDACTED - PUBLIC VERSION
                                              )
                 Defendants.                  )
                                              )
 MODERNA, INC. and MODERNATX, INC.,           )
                                              )
                 Counterclaim-Plaintiffs,     )
                                              )
    v.                                        )
                                              )
 ARBUTUS BIOPHARMA CORPORATION                )
 and GENEVANT SCIENCES GmbH,                  )
                                              )
                 Counterclaim-Defendants.     )

                 JOINT APPENDIX TO CLAIM CONSTRUCTION BRIEF

 John W. Shaw (No. 3362)                     Jack B. Blumenfeld (No. 1014)
 Karen E. Keller (No. 4489)                  Brian P. Egan (No. 6227)
 Nathan R. Hoeschen (No. 6232)               Travis J. Murray (No. 6882)
 Emily S. DiBenedetto (No. 6779)             MORRIS, NICHOLS, ARSHT & TUNNELL LLP
 SHAW KELLER LLP                             1201 North Market Street
 I.M. Pei Building                           P.O. Box 1347
 1105 North Market Street, 12th Floor        Wilmington, DE 19899
 Wilmington, DE 19801                        (302) 658-9200
 (302) 298-0700                              jblumenfeld@morrisnichols.com
 jshaw@shawkeller.com                        began@morrisnichols.com
 kkeller@shawkeller.com                      tmurray@morrisnichols.com
 nhoeschen@shawkeller.com
 edibenedetto@shawkeller.com                 Patricia A. Carson
                                             Jeanna M. Wacker
 Attorneys for Plaintiffs                    Mark C. McLennan
                                             Nancy Kaye Horstman
                                             Caitlin Dean
                                             Shaoyao Yu
                                             KIRKLAND & ELLIS LLP
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 David I. Berl                            601 Lexington Avenue
 Adam D. Harber                           New York, NY 10022
 Thomas S. Fletcher                       (212) 446-4679
 Shaun P. Mahaffy
 Jessica Palmer Ryen                      Alina Afinogenova
 Anthony H. Sheh                          KIRKLAND & ELLIS LLP
 Jihad J. Komis                           200 Clarendon Street 47th Floor
 Philip N. Haunschild                     Boston, MA 0211
 WILLIAMS & CONNOLLY LLP                  (617) 385 -7500
 680 Maine Avenue SW
                                          Yan-Xin Li
 Washington, DC 20024
                                          KIRKLAND & ELLIS LLP
 (202) 434-5000
                                          555 California Street 27th Floor
                                          San Francisco, CA 94104
 Attorneys for Plaintiff Genevant         (415) 439-1400
 Sciences GmbH
                                          Attorneys for Defendants
 Daralyn J. Durie
 Adam R. Brausa
 Eric C. Wiener
 Annie A. Lee
 Shaelyn K. Dawson
 MORRISON & FOERSTER LLP
 425 Market Street
 San Francisco, CA 94105-2482
 (415) 268-6080

 Kira A. Davis
 MORRISON & FOERSTER LLP
 707 Wilshire Boulevard
 Los Angeles, CA 90017-3543
 (213) 892-5200

 David N. Tan
 MORRISON & FOERSTER LLP
 2100 L Street, NW, Suite 900
 Washington, DC 20037
 (202) 887-1500

 Attorneys for Plaintiff Arbutus
 Biopharma Corporation




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/s/ Nathan R. Hoeschen                            /s/ Travis J. Murray
John W. Shaw (No. 3362)                           Jack B. Blumenfeld (No. 1014)
Karen E. Keller (No. 4489)                        Brian P. Egan (No. 6227)
Nathan R. Hoeschen (No. 6232)                     Travis J. Murray (No. 6882)
Emily S. DiBenedetto (No. 6779)                   MORRIS, NICHOLS, ARSHT & TUNNELL LLP
SHAW KELLER LLP                                   1201 North Market Street
I.M. Pei Building                                 P.O. Box 1347
1105 North Market Street, 12th Floor              Wilmington, DE 19899
Wilmington, DE 19801                              (302) 658-9200
(302) 298-0700                                    jblumenfeld@morrisnichols.com
jshaw@shawkeller.com                              began@morrisnichols.com
kkeller@shawkeller.com                            tmurray@morrisnichols.com
nhoeschen@shawkeller.com                          Attorneys for Defendants
edibenedetto@shawkeller.com
Attorneys for Plaintiffs




                                              8
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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 20, 2023, this document was served on the persons

listed below in the manner indicated:

     BY EMAIL:
     Jack B. Blumenfeld                            Patricia A. Carson, Ph.D.
     Brian P. Egan                                 Jeanna M. Wacker
     MORRIS, NICHOLS, ARSHT & TUNNELL LLP          Mark C. McLennan
     1201 North Market Street                      Nancy Kaye Horstman
     P.O. Box 1347                                 Shaoyao Yu
     Wilmington, DE 19899                          Caitlin Dean
     (302) 658-9200                                KIRKLAND & ELLIS LLP
     jblumenfeld@morrisnichols.com                 601 Lexington Avenue
     began@morrisnichols.com                       New York, NY 10022
                                                   (212) 446-4800
     James F. Hurst                                patricia.carson@kirkland.com
     KIRKLAND & ELLIS LLP                          jeanna.wacker@kirkland.com
     300 North LaSalle                             mark.mclennan@kirkland.com
     Chicago, IL 60654                             kaye.horstman@kirkland.com
     (312) 862-2000                                shaoyao.yu@kirkland.com
     james.hurst@kirkland.com                      caitlin.dean@kirkland.com

     Alina Afinogenova                             Yan-Xin Li
     KIRKLAND & ELLIS LLP                          KIRKLAND & ELLIS LLP
     200 Clarendon Street                          555 California Street, 27th Floor
     Boston, MA 02116                              San Francisco, CA 94104
     (617) 385-7500                                (415) 439-1400
     alina.afinogenova@kirkland.com                yanxin.li@kirkland.com

                                             /s/ Nathan R. Hoeschen
                                             John W. Shaw (No. 3362)
                                             Karen E. Keller (No. 4489)
                                             Nathan R. Hoeschen (No. 6232)
                                             Emily S. DiBenedetto (No. 6779)
                                             SHAW KELLER LLP
                                             I.M. Pei Building
                                             1105 North Market Street, 12th Floor
                                             Wilmington, DE 19801
                                             (302) 298-0700
                                             jshaw@shawkeller.com
                                             kkeller@shawkeller.com
                                             nhoeschen@shawkeller.com
                                             edibenedetto@shawkeller.com
                                             Attorneys for Plaintiffs


                                              9
